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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CATHY A. HARRIS, in her personal capacity :
and in her official capacity as Member of the :
Merit Systems Protection Board,               :
                                              :
       Plaintiff,                             :          Civil Action No.:      25-412 (RC)
                                              :
       v.                                     :          Re Document No.:       22
                                              :
SCOTT BESSENT, in his official capacity as :
Secretary of the Treasury, et al.,            :
                                              :
       Defendants.                            :

                                             ORDER

                    GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Plaintiff Cathy A. Harris’s Motion for Summary Judgment (ECF No.

22) is GRANTED. It is hereby:

       DECLARED that Plaintiff Cathy A. Harris remains a member of the Merit Systems

Protection Board, having been confirmed by the Senate on May 25, 2022, and sworn in on June

1, 2022, and that she may be removed by the President prior to the expiration of her term in

office only for inefficiency, neglect of duty, or malfeasance in office pursuant to 5 U.S.C.

§ 1202; and it is

       FURTHER ORDERED that Plaintiff Cathy A. Harris shall continue to serve as a

member of the Merit Systems Protection Board until her term expires pursuant to 5 U.S.C.

§ 1202, unless she is earlier removed for inefficiency, neglect of duty, or malfeasance in office

under that statute. Defendants Secretary Scott Bessent, Deputy Director Trent Morse, Director

Sergio Gor, Acting Chairman Henry Kerner, and Director Russell Vought are ENJOINED from
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removing Harris from her office without cause or in any way treating her as having been

removed without cause, denying or obstructing Harris’s access to any of the benefits or resources

of her office, placing a replacement in Harris’s position, or otherwise recognizing any other

person as a member of the Merit Systems Protection Board in Harris’s position; and it is

       FURTHER ORDERED that the Court’s Temporary Restraining Order (ECF No. 8) is

VACATED.

       SO ORDERED.


Dated: March 4, 2025                                              RUDOLPH CONTRERAS
                                                                  United States District Judge




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